“Case 19-70060-hdh13 Doc 1 Filed 03/05/19 Entered 03/05/19 10:05:52 Page 1 of 11

ee irrny
Fir one b>

Nas:
400 Biese Shey

Fill in this information to identify your case:

 

! United States Bankruptcy Court for the: M A R r
Northem District of Texas v 2019
; ' CLERK, US. BAe =
Case rumber "| 9 US. BANK RE ar aye
ase (tf Avon): ame you are fiting under: NORTHERY Dis; — oe COuaT
Chapter 7 SUISTRICT Or TEXAS
Q Chapter 41 ~
Chapter 12
Chapter 13 [3 Check if this is an
amended filing

 

Official Form 101

Voiuntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms uso you and Debtor 1 to refer to a debtor filing alone. A married coupte may filo a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes Ef either debtor owns a car. When information is needed about the spouses separately, the fomn uses Debtor 7 and
Debtor 2 to distiriguish between them. in joint cases, one of the spouses must report information as Debtor 7 and tho other as Debtor 2. The
same person must be Debéor f in aif of the forms.

Be as complete and accurate as possible. if two married people ara filing together, both are equally responsihte for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

identity Yourself

12/17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 4: _ Abnut Dabtor 2 (Spouse Only in a Joint Casgh: ~
4. Your full narne ‘
‘ Write the name that is on your 1 :
j government-issued picture a ANIEL !
| identification (for example, onli First name
i your driver's Rcense or
} passport). Middie name Middle nome
: Bring your picture LAWSON
; identification to your meeting —Last name Last name i
with the trustee.
Suffix (Se., Je, H, i) Suffix (Sr, Jr., 1 ii} :
ig. All other names you
| have used in the last 8 First name Firet name
; years
> Snclude your married or Middle name Midde name
i Last name Last name
i
; First name First name
' 3. Only the last 4 digits of
your Social Security mx - mx -_ 7 _F 8 4 WK mK -
number or federal OR OR
individual Taxpayer
identification number 9x - oo Bue ow
: (TIN)

 

 

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Official Form 101

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Voluntary Petition for individuals Filing for Bankruptcy

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page 1
Case 19-70060-hdh13 Doc 1 Filed 03/05/19 Entered 03/05/19 10:05:52 Page 2 of 11

DANIEL

Fast ?tame

Debtor 1

Ogee = ee a ee ee,

4 Any business names

Middie Nome

LAWSON

Lest Narre

Atiout Debtor 4:

i | nave not used any business names or EINs.

Case number (7 imoer,

A te Sa A SA eS

SO ee me SN A ec ys

About Debtor 2 (Spouse Only in a Joint Case}:

(2 | nave not used any business names or EINs.

 

 

 

 

 

 

 

 

ff your mating address is different from the one
above, fill it in here. Note that the court will send
any notices ta you at this mailing address.

and Employer
identification Nunibers
{EIN) you have used in
the last 8 years Business same Busmess name
doing business as names Business name Business name
i NT rs
: no = rr
5 Where you live if Debtor 2 lives at a different address:
1400 PHOENIX DR.
Number Street ' Number Street
WICHITA FALLS ™ 76306 __.
Ciy State = ZIP Cade ” City “State ~ ZIP Code”
WICHITA
County County

if Debtor 2's maiiing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

i

: 6. Why you are choosing

Number Street Nurber Street

P.O. Box PG. Box

City State ZIP Code City State ZIP Code
Check one: : Check one:

 

 

 

 

 

 

 

 

 

hankruptey to file for Wi Over the tast 180 days before filing this petition, (2 Over the last 180 days before filing this petition,
| have lived in this district langer than in any i have lived In this district longar than in any
| other district. other district.
: (| nave another reason. Explain. C2 t have another reason. Explain
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408)
Official Form 161 Voluntary Petition for individuais Filing for Bankruptcy page 2
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Case number (Tivos),

 

Tell ¢he Court About Your Bankruptcy Case

iz. The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Fling
for Bankruptcy (Form 2010)). Also, go to the top of page 7 and check the appropriate box

U) Chapter 7

(3 Chapter 11
Ql Chapter 12
W Chapter 13

a a ie =

oe

2 How you will pay the fee (2) 1 wilt pay the entire fee when I file my petition. Please check with the clerk's office in your

9 Have you filed for

local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. if your attomey is
submitting your payment on your behalf, your attomey may pay with a credit card or check
with a pre-printed address.

(2 E need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in instaliments (Official Form 103A).

O) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income i is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in instaliments). tf you choose this option, you must fill aut the Application to Have the
Chapter 7 Filing Fee Waived (Cfficial Form 1038) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

No
bankruptcy within the
last 6 years? ves. District When Case number ———
wana? DDIYYYY
District When Case number
MM/ DD /YYYY
Distict When Case number
MM/ DD SYYYY
: 40. Are any bankruptcy i No
: cases pending or being Relationship
filed bya spouse whe is UI Yes. Dettor emda
not filing this case with District When Case number, if known
you, or by a business Baa TDD FY
partner, or by an
affillate?
Debtor Relationship to you
District When Case numtzer, if known,
MM DD 1 YYYY

* 44. Do you rent your
residence?

Official Form 101

 

ZiNo. Goto line 12.
(3 ves. tas your landlord obtained an eviction judgment agninst you?
2 No. Go to tine 12.
C2 Yes. Fill out initia! Statement About an Eviction Judgment Against You (Form 101A) and fife it as
part of this bankruptcy petition.

Voluntary Petition for individuats Filing for Bankruptcy page 3
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pent DANIEL LAWSON Cane renner rm,

Madde Mame

 

ise Report About iny Businesses You Own as a Sole Proprietor

42 Are you asole proprietor J no. Go to Part 4.

 

 

 

 

 

of any full- or part-time
business? (2 Yes. Name and location of business
A sole proprietorship is a
business you operate as an : 7
individual and isnot a Name of business, if any
separate legal entity such as
a corporation, partnership, or
LLC. Number Street
if you Rave more than one
sole proprietorship, use a
separate sheet and attach it
to this petition. Giy Sue WW tale
Check the appropriate box fo describe your business:
C3 Heath Care Business (as defined in 14 U.S.C. § 104(27A)}
(C2 Single Asset Real Estate (as defined in 11 U.S.C. § 101(61B))
2) Steckbroker (as defined in 11 U.S.C. § 191(53A))
CL] Commodity Sroker (a8 defined in 11 U.S.C. § 104(6))
{) None of the above
43. Are you filing under if you are filing under Chapter 11, fhe court must know whether you are a smaif business debtor so that #
Chapter 11 of the can set appropriate deadtines. \f you indicate that you are a small business debior, you must attach your

c most recent balance sheet, statement of operabons, cash-flow statement, and federal income tax retum or if
Bankruptcy Gode and sy of these documents do not exist, flow the procedure in 11 ULS.C. § 11 16(1)(B).

are you a small business
debtor?
vora of sone! Zi No. | am not filing under Chapter 11.
business debtor, see CI Na | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankrupicy Code.
Q) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankrupicy Code.

FEE oro-t vou own or Have Any Hazardous Proparty or Any Property That Needs Immediate Attontion

 

14 Do you own orhaveany Wino

: property that poses or is
alleged to pose a threat LJ Yes. Whats the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

if iramediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number = —-_ Street

 

 

City Sista ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Dabtor 4 DANIEL ~~ LAWSON

Middle Kame

FER State voor xtorts to Recelve a Brtofing About Credit Counsating

Cage number (7 sna,

 

+5. Tell the court whether
. you have received a
briefing about credit
counseling.

The law requires that you

can begin catlection activities
again.

Official Form 101

About Debtor t:

You must check one:

Of | received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and | received a
certificate of compleiion.

Aftach a copy of the certificate and the payment
plan. if any, thal you developed witfr the agency.

(2 | received a briefing from an approved credit
counseling agency within the 180 days befare }
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days afier you file this bankruptcy petition,
you MUST fle # copy of the cariicate and payment
plan, ¥ any.

C2 | certify that 1 asked for credit counseling
services from an approved agency, but was
unable te obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for & 20-day temporary waiver of the —
requirement, atiach a separate sheet

whai efforts you made to obtain the briefing, why
‘you were unable to obiain it before you fied for
bankruptcy, and what exigent circumstances
required yau ta file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving 2
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
Still receive 2 briefing within 30 days after you file.
You must file a certificate fram the approved
agency, along with a copy of the payment plan you
developed, if any. if you do net dose, your case
may be dismissed.

Ary extension of the 20-day deadiine is granted
only for cause and is limited to a mendrrum of 15
days.

UL] fam not required to receive a briefing about
credit counseling because of:

(J incapacity. {have a mental iliness or a mental
deficiency that makes me
incapabie of realizing or making
rational decisions about finances.

O) Disebuny. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or

the intemet, even after |
reasonably tried to do so.

CI Active duty. | am curently on active military
duty in a military combat zone.
if you begeve you are not required to receive a

briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a doint Case} 2
You must check one:

(2 | receiveda brieiing from an approved crodit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certHicate of completion.

Attach a copy of the certificate and the payment
Pan. if any, thal you developed with the agency,

© | received a briefing from an approved credit
counscling agency within the 180 days before |
fited this bankruptcy petition, but } do not have a
certificate of completion.
Within 14 days after you file this benkrupicy petition,
you MUST file a copy of the certificate and payment
plan, iF any,

: O) I certify that { asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances morit a 30-day tomporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
fequirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable fo obtain it before you fited for
bankruptcy, and what exigent circumstances
required you ta file this case.

Your case may be dismissed if the court is
diesatisfied with your reasons for not receiving a
briefing before yau filed for bankruptcy.

if the court is satisfied with your reasons, you must
S&# receive a briefing within 30 days afer you file.
‘You must file a certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. if you do not do so, your case
may be dismissed.

Any eidension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(2 5 am not required to receive a briefing about
credit counseling because of:

CI incapacity. | have a mental iliness or @ mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Dtsabitity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

UI Active duty. | am currently on active military
duty in a military combat zone.
if you believe you are not required to receive a

briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Dabtor 1 DANIEL . LAWSON —_ Case number cf mows ao
Fintb dame ffidde Nave ‘cat Name
ey tower These Questions for Reporting Purposes
: 16a. Are your debts primarily consumer debts? Consumer debts are defined in 114 U.S.C. § 107(8)
; 6. voor debts do a8 “Incurred by an individual primarily for a personal, family, or household purpose.”
2 CI No. Go te fine 16b.
i ves. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
fnanay for a business or investment or through the aperaticn of the business or investment.
LI No. Go te line 16c.
Ld Yes. Go te fine 17.
16c. State the type of debts you owe that are not consumer debts or business debts.
47. Are filing under
Chapori? {2 No. { am not filing under Chapter 7. Go te fine 18.
Do you estimate that after C Yes. | am filing under Chapter 7. De you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds wil be available to distribute to unsecured creditors?
excluded and Ono
administrative expenses
are paid that funds will be CO) Yes
available for distribution
___fe unsecured creditors? aa epeeeeer perpnpenmveener
48. How many creditors do {2 1-49 C3 +,000-6,000 (2 25,901-50,000
you estimate that you C3 50-09 (2 5,001-10,000 C3 50,001-100,000
owe? C} 190-199 © 10,001-25,000 CI More than 100,000
iad Nn _ttlFeeewe
19. How much do you {i $0-$50,000 C3 $1,000,001-$10 milion (2 $500,000,001-$1 billion
estimate your assets to =) $59,001-$100,009 C2 $19,000,003-$50 mittion (2 $1.900,000,001-$10 bition
be worti? ( $100,001-¢500,000 (2) $59,000,001-$100 million (2 $10,000,000, 001-$56 bition
—_ C1 $s00,001-$1 ition == $400,000,001-$500 mition =O More than $50 bition
20. How much do you (2 $0-s50,000 Q $1,000,001-$10 mition (2 $500,000,001-$1 billion
estimate your fabilities $50,001-$100,000 C3 $40,000,001-$50 mittion (2 $4,000,000,001-$10 bition
to be? {2 $100,001-$500,000 i $50,000,001-$100 milion CY $10,000,000,001-$50 bition
CY $500,001-$t mitiion 2 $100,000,001-$800 milion C} tore then $50 hittion

ust Sign Below
| have examined this petition, and | decare undes penalty of perjury that the information provided is true and
For you correct.

tf! have chosen to file under Chapter 7, | arm aware that ! may proceed, if eligible, under Chapter 7, 14.12, or 13
of fille 11, United States Code. | understand the retief avaitabie under each chapter, and { choose to proceed

under Chapter 7_

If no attomey represents me and | did not pay or agree to pay someone who is not an attomey to help me fill out
this document, | have obiained and read ihe notice required by 11 U.S.C. § 3420).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

{ understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can resuit in fines up to $250,000, ar imprisonment for up te 20 years, or both.

   

 

  

TEUS.C. . 1344, 1519, and 3571.
\AzR(ZL x
(x): LIAL AP
Signature of Debtor 1 Signature of Debtor 2
Executed on 03/04/2019 Executedon
MM / DD /YYYY - MMi DD /YYYY

Official Form 101 Votuntary Petition for individuals Fiing for Bankruptcy page 6
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Dettor1 DANIEL

Pret Mane

: For your attormey, if you are
: sepresented by one

if you are not represented
by an attorney, you do
need to file this page.

Official Form 101

LAWSON Case sumber icons)

Lest Meme

LA me Sa ate nd a ey

i, the attorney for the debtor(s) named in this petition, dectare that | have informed the debtor(s) about etigibifity
to proceed under Chapter 7, 11, 12, or 13 of tite 11, United States Code, and have explained the relief
available under each chapter for which the person is efigibie. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b)} and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge affer an inquiry thet the information in the schedules filed with the petition is incorrect.

 

 

 

 

 

 

 

 

 

x bs agar tape ea at seu Date
Signature of Aittomey for Debtor MM / ODD /f¥YYY
Printed name
Firm name ~
Number Street
ty i. State ZF Code
Cantact phone Email address
Bar number State
Be re. TE ame | a Sea y SE eS oe le as

Voluntary Petition for Individuats Filling for Bankruptcy page 7
DANIEL

Dabior 1

LAWSON

Case ruraber tit pwn),

 

Feal ane

= nts ere

: For you if you are filing this
' bankruptcy without an
attorney

If you are represented by

: an attorney, you do not
need to file this page.

Addie Nome

SS Se rs Se Se DEE

Lat dias:

226s er esses , * -ON TSO

The law allows you, as an individual, to represent yourself in bankruptcy court, but you

should understand that many people find It extremely difficult to represent

themselves successfully. Because bankruptcy has tong-term financial and legal
cousequéncécs, you are strongly urged to hire a qualified attorney.

To be successful, you must correctiy file and handle your bankruptcy case. The rules are very

fechnical, and a mistake or inaction may affect your rights. For example, your case may be

dismissed because you did not file a required document, pay a fee on time, attend a nesting or

hearing, oF cooperate with the court, case trustee, U.S, trustee, bankruptcy administrator, or audit

firm if your case is selected for audif. If that happens, you could fose your right to file another }
Case, oF you ray lose protections, including the heneht of the automatic stay. - :

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged. if you do not list
property or property clain it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, anci complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

# you decide to file without an attorney, the court expects you fo follow the niles as if you had
hired an attomey. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with iong-ferm financial and legal
consequences?

Ci no

@ ves

Are you aware that bankruptcy fraud is a serious crime and that if your banicuptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

LI No

EA Yes

Did you pay or agree to pay someone whe is not an attomey to help you fill out your bankruptcy forms?
ii No

2 Yes. Name of Person .
Attach Bankrupicy Petilion Praparer’s Notice, Declaration, and Signature (Official Fann 119).

By signing here, | acknowledge that I understand the risks involved in filing without an attorney. |
have read and understoad this notice, and | am aware that filing a bankruptcy case without an
attomey may cause me to jose my rights er property if ! de not properly handle the case.

Signature of Debtbe-

Date 03/04/2019
MM/IDD ivYyvy

Contact phone (940) 337-3795

Cell phone

 

Email address brijen212@gmail.com

Te a aa Serge pp at dat el ne adhe ie ele le,

Official Form 101

Voluntary Petition for individuals Fillng for Bankruptcy

Signature of Deblor 2

Dste eee ee
MM/ DD /YTYVY

Contact phone

 

Celi phone

 

Emeil address

 

air Ce aca a ee Si a i ed a el etree el ceeded ng WAN Sh) ARE pode

Page 8
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pepter1 DANIEL

Fill in this information to identify your case:

LAWSON

  

 

 

 

 

Debtor 2

Fist Name Middle Mose: Last Nene

 

   
 

 

 

Case number

United States Bankruptcy Gourt for the: Northern District of Texas

(Spouse, if fling) “rat Name mute Kame Latt Rare

 

(If known)

    
   
 
    

 

Official Form 106D

 

 

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C3 Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 1215

 

Be as complete and accurate as possible. i two maniod. peopie are filing together, both are equally

ing correct

responsible
information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach ft to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have clxines secured by your proporty?

(2 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this farm.
@& Yes. Fill in all of the information below.

PSPS re List AN Secured Claims

As much as possible, fist the claims in alphabetical order according to the creditor's name.

[2a AMERICAN NATIONAL BANK

 

Creditor's Name:
PO BOX 2318

 

Number Street
DANIEL LAWSON

 

SINGLE FAMILY HOME

Describe the property that secures the claim:

$

 

 

OMAHA

NE 68103

 

Ce State ZIP Coe

Whe owes the debt? Check one.

bd Debtor 4 only

U) Debtor 2 only

(J Debtor 1 and Detstor 2 only

(© At taast one of the debtors and another

C] Check ifthis claim relates to a
Date debt was incurred 08/74/2012

{ 23)

 

Creditor's Nave

 

Number Strest

As of the date you fite, the claim is: Check all that apply.

(1 Contingent

(2 Untiquidated

W Disputed

Nature of lien. Check alt that apply.

if An agreement you made (such as morigage or secured

car loan}

2 Statutory tien (such as tax tien, mechanic's Hen)

QO Judgment fien from a lawsuit
C1 Other (including a right to offset}

Last 4 digits of account number

42 1

Describe the property that secures the claim:

 

 

 

 

City State ZIP Code

Who owes the debt? Check ane.

Q Debtor 1 only

oO Debtor 2 only

C} Debtor 4 and Detter 2 only

© At least cre of the debtors and another

Check ifthis claim relates to a
corumunity debt

Date Clebt was incurred

CJ Contingent

CO} Untiquidated

OF disputed

Nature of Hen. Check alt that apply.

| An agreement you made (such as mortgage or secured

car loan)

As of the date you file, the claim is: Check all that apply.

Q Statutory lien (suck as tax tien, mechanic's lien)

(2 Judgment lien from a lawsuit
J Other (including a right io offset)

Last 4 digits of account number ___

Adc the dollar value of your entries in Column A on this page. Write that number here:

Official Form ‘06D

 

Schedule D: Creditors Who Have Claims Secured by Property

Om sot deduct the
value of collateral.

62,770.00 ¢

; . Conan B Column C
2. List all secured claims. If a creditor has more than one secured claim. list the creditor separately amount of claim Value of collateral

for each claim. Hf more than one creditor has a particular claim, list the other creditors in Part 2.

Unsecured

that supports this pertion

Hf any

75,000.00 5

page 1 of__
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BTXN 094 (rev. 5404)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In Re:
Case No.:

Debtor(s)

Or (On 6G? 02 WOR WO OD

VERIFICATION OF MAILING LIST

The Debtor(s) certifies that the attached mailing list (only one option may be selected per
form):
is the first mail matrix in this case.
LO adds entities not listed on previously filed mailing list(s).
C1 changes or corrects name(s) and address(es) on previously filed mailing list(s).

O deletes name(s) and address(es) on previously filed mailing list(s).

In accordance with N.D. TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies
that the attached list of creditors is true and correct.

 

SY 4

Date Signature of Attorney (if applicable)

ZA pe — ee Dry

Signature’of Debtor Debtor’s Social Security (last four digits only) [Tax ID No.

 

 

Signature of Joint Debtor (if applicable) Joint Debtor’s Social Security (last four digits only) 'Tax ID No.
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AMERICAN NATIONAL BANK
P.O. BOX 2318
OMAHA, NE 68103-2318
